92 F.3d 1183
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Zerrei SOUHEIL, a/k/a Smiley, Defendant-Appellant.
    No. 96-6649.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 23, 1996.Decided:  August 12, 1996.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  James R. Spencer, District Judge.  (CR-94-6, CA-96-139)
      Zerrei Souheil, Appellant Pro Se.  William Neil Hammerstrom, Jr., OFFICE OF THE UNITED STATES ATTORNEY, Alexandria, VA, for Appellee.
      E.D.Va.
      AFFIRMED.
      Before WIDENER, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion filed under 28 U.S.C. § 2255 (1988), as amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, Souheil's motion for appointment of counsel is denied and we affirm on the reasoning of the district court.   United States v. Souheil, Nos.  CR-94-6;  CA-96-139 (E.D.Va. Apr. 11, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    